                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
                                                    )       No. 3:07-CR-155-002
V.                                                  )       (JORDAN/SHIRLEY)
                                                    )
                                                    )
                                                    )
MUHAMMAD SHABAZZ ALLEN                              )

                       ORDER OF DETENTION PENDING TRIAL


               An initial appearance and arraignment were held in this case on December 18,

2007. Tracee Plowell, Assistant United States Attorney, was present representing the

government, and Jonathan Moffatt, Assistant Federal Defender, was present representing the

defendant. Upon motion of the government for detention and counsel for the defendant

stating that the defendant wished to waive his right to a detention hearing at this time but

reserve the right to have a detention hearing at a later date, if appropriate, the defendant shall

be detained. Pursuant to the defendant signing a Waiver of Detention Hearing, the defendant

is to be detained. 18 U.S.C. § 3142(f)(2)(B). The government stated it had no objections.

 The defendant was present. For good cause, and by agreement of the defendant, this

detention hearing is waived and the defendant is detained.

               The defendant is aware of his rights to a prompt detention hearing and to

require the government to meet its burden of proving that no conditions of release exist

which will reasonably assure his appearance in court and the safety of the community. The


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defendant knows that if his detention hearing is waived he will remain in custody while it is

continued. The defendant acknowledged in open court that he understands his rights and the

consequences of waiving his detention hearing.

              For good cause shown, the defendant’s request not to contest, and to waive the

detention hearing is hereby GRANTED.

              It is therefore ORDERED that:

              (1)    Defendant be detained.;

              (2)    Defendant be committed to the custody of the Attorney
                     General for confinement in a corrections facility separate, to
                     the extent practicable, from persons awaiting or serving
                     sentences or being held in custody pending appeal;

              (3)    Defendant be afforded reasonable opportunity for private
                     consultation with counsel; and

              (4)    On order of a court of the United States or on request of an
                     attorney for the government, the person in charge of the
                     corrections facility in which the defendant is confined
                     deliver the defendant to a United States marshal for the
                     purpose of an appearance in connection with any court
                     proceeding.


                                   ENTER:


                                            s/ C. Clifford Shirley, Jr.
                                          United States Magistrate Judge




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